Case 1:22-cv-00905-MSN-WEF Document 1 Filed 08/09/22 Page 1 of 8 PageID# 1
Case 1:22-cv-00905-MSN-WEF Document 1 Filed 08/09/22 Page 2 of 8 PageID# 2
Case 1:22-cv-00905-MSN-WEF Document 1 Filed 08/09/22 Page 3 of 8 PageID# 3
Case 1:22-cv-00905-MSN-WEF Document 1 Filed 08/09/22 Page 4 of 8 PageID# 4
Case 1:22-cv-00905-MSN-WEF Document 1 Filed 08/09/22 Page 5 of 8 PageID# 5
Case 1:22-cv-00905-MSN-WEF Document 1 Filed 08/09/22 Page 6 of 8 PageID# 6
Case 1:22-cv-00905-MSN-WEF Document 1 Filed 08/09/22 Page 7 of 8 PageID# 7
Case 1:22-cv-00905-MSN-WEF Document 1 Filed 08/09/22 Page 8 of 8 PageID# 8
